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                                      UNITED STATES DISTRICT COURT
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                                     CENTRAL DISTRICT OF CALIFORNIA
    20                                     WESTERN DIVISION
    21    CHRISTY PALMER, VARTAN                               CASE NO. 17-CV-6848 DMG (PLAx)
          PIROUMIAN, and EDWARD COX,
Case22
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                                                               REDACTED VERSION OF
    23                           Plaintiffs,                   DOCUMENT PROPOSED TO BE
    24                                                         FILED UNDER SEAL
                  v.
    25                                                         SECOND JOINT STIPULATION
          COGNIZANT TECHNOLOGY                                 REGARDING DISCOVERY
    26    SOLUTIONS CORPORATION and                            DISPUTES
          COGNIZANT TECHNOLOGY
    27
          SOLUTIONS U.S. CORPORATION,                           Hon. Paul L. Abrams
    28


                                       JOINT STIP. RE DISCOVERY DISPUTES
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